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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                         Case No: 8:20-cv-02679
                                      §
vs.                                   §                         PATENT CASE
                                      §
GOZONE WIFI, LLC                      §
                                      §
      Defendant.                      §
_____________________________________ §

                             PLAINTIFF’S RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for DISPLAY TECHNOLOGIES, LLC, a private non-governmental property, certifies

that the names of all associations, firms, partnerships, corporations, and other artificial entities

that either are related to the plaintiff as a parent, subsidiary, or otherwise, or have a direct or

indirect pecuniary interest in the plaintiff’s outcome in the case are below:

        Patent Asset Management

Dated: November 13, 2020                         Respectfully submitted,


                                                 RODRIGUEZ-ALBIZU LAW, P.A.
                                                 Attorney for Plaintiff

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                                        By:      /s/ Gerardo J. Rodriguez-Albizu
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